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Fill in this information to identify the case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this is an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/25
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Villages Health System, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  600 Sunbelt Road                                                7580 Middleton Drive
                                  The Villages, FL 32159                                          Middleton, FL 34762
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Lake                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    The Villages Health System, LLC                                                             Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6221

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,424,000 (amount subject to adjustment on 4/01/28 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




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Debtor    The Villages Health System, LLC                                                                 Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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                       ACTION BY WRITTEN CONSENT OF THE
                   BOARD OF MANAGERS AND MAJORITY MEMBER
                      OF THE VILLAGES HEALTH SYSTEM, LLC

                                            July 2, 2025

       The undersigned, being (i) all persons designated as members of the Board of Managers
(the “Board”) of The Villages Health System, LLC, a Florida limited liability company (the
“Company”) and (ii) the majority Member of the Company (the “Majority Member”) (the Board
and the Majority Member are collectively referred to as the “Panel”), in accordance with the
Amended and Restated Operating Agreement of the Company (the “Operating Agreement”) and
Section 605.04073 of the Florida Revised Limited Liability Company Act, do hereby consent to,
adopt and approve, by this written consent (the “Written Consent”), the following resolutions,
which resolutions shall be deemed to be adopted as of the date set forth above:

                       Chapter 11 Filing and Retention of Professionals

       WHEREAS, the Panel has had the opportunity to consult with the management and legal
advisors of the Company and has considered, among other things, the financial and operational
condition of the Company and the Company’s business on the date hereof, the assets of the
Company, the current and long-term liabilities of the Company, the liquidity situation of the
Company, the strategic alternatives available to the Company, the effect of the foregoing on the
Company’s business, and the advice of management and the Company’s legal advisors.

        NOW, THEREFORE, BE IT RESOLVED, that, for the purposes of the following
resolutions, the Board, GBH SOLIC Holdco, LLC (f/k/a SOLIC Capital Advisors), and their
designees, shall be “Authorized Officers” empowered to act with respect to the actions authorized
in these resolutions.

        FURTHER RESOLVED that, in the judgment of the Panel, it is desirable and in the best
interests of the Company, its creditors, and other parties in interest, that the Company shall be, and
hereby is, authorized to file, or caused to be filed, a voluntary petition for relief (the “Chapter 11
Case”) under the provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–
1532 (the “Bankruptcy Code”), in the United States Bankruptcy Court for the Middle District of
Florida (the “Bankruptcy Court”) and any other petition for relief or recognition or other order that
may be desirable under applicable law in the United States.

        FURTHER RESOLVED, that the Authorized Officers, as applicable, are authorized and
directed to execute and file on behalf of the Company all petitions, schedules, lists, and other
motions, papers, or documents, and to take any and all action that they deem necessary or proper
to obtain such relief, including, without limitation, any action necessary to maintain the ordinary
course operation of the Company’s business.

         FURTHER RESOLVED, that the Company and the Authorized Officers are hereby
authorized, directed, and empowered, on behalf of the Company, to employ the law firm of Baker
& Hostetler LLP as general bankruptcy counsel to represent and assist the Company in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
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rights and obligations, including filing any motions, objections, replies, applications, or pleadings;
and in connection therewith, each of the Authorized Officers, as applicable, is hereby authorized
and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed an appropriate application for authority to retain the services of Baker & Hostetler LLP.

        FURTHER RESOLVED, that each of the Authorized Officers, as applicable, are
authorized and directed to employ any other professionals to assist the Company in carrying out
its duties under the Bankruptcy Code; and in connection therewith, each of the Authorized
Officers, as applicable, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary.

                                 Debtor-in-Possession Financing

         WHEREAS, the Company requires immediate access to additional liquidity.

        WHEREAS, the Company, through the Authorized Officers, has engaged with multiple
potential lenders in the solicitation and negotiation of terms of a superpriority debtor-in-possession
term loan facility (each, collectively including any related term sheets, credit agreements, security
agreements, interim and final orders, and other related documents, a “Proposed DIP Credit
Agreement”), which would be used, among other things, to fund the operations of the Company
in the ordinary course, fund the administration of the Chapter 11 Case, and pay the claims of certain
vendors, employees, and other stakeholders in the ordinary course of business during the Chapter
11 Case.

      WHEREAS, the Panel has been advised of the material terms of the Proposed DIP Credit
Agreements.

        NOW, THEREFORE, BE IT RESOLVED, the Authorized Officers are authorized and
empowered on behalf of the Company to finalize, execute, and deliver the Proposed DIP Credit
Agreement that the Authorized Officers select as being in the best interests of the Company, its
creditors, and other parties in interest (such Proposed DIP Credit Agreement, the “DIP Credit
Agreement”), substantially in the form attached hereto as Exhibit A.

       FURTHER RESOLVED, that the Company’s execution and delivery of, and its
performance of its obligations (including guarantees) in connection with the DIP Credit
Agreement, are hereby, in all respects, authorized and approved, including with such changes as
such Authorized Officers may deem necessary, advisable or appropriate, the taking of any such
action by such Authorized Officer to be deemed conclusive evidence that the Panel and the
Company have authorized such action, and take all actions necessary to seek and gain approval of
the DIP Credit Agreement in the Bankruptcy Court

        FURTHER RESOLVED, that each of the Authorized Officers, as applicable, are hereby
authorized, empowered, and directed, in the name and on behalf of the Company, to take such
actions as in its discretion is determined to be necessary, desirable, proper, or advisable to give
effect to these resolutions and to negotiate, execute, deliver, file, perform, and cause the



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performance of the DIP Credit Agreement, the transactions contemplated thereby, and any and all
other documents, certificates, instruments, real estate filings, recordings, security assignments,
agreements, intercreditor agreements, petitions, motions, or other papers or documents to which
the Company is or will be a party or any order entered into in connection with the Chapter 11 Case,
including, without limitation, any amendments, supplements, modifications, renewals,
replacements, consolidations, substitutions, and extensions thereof (collectively with the DIP
Credit Agreement, the “Financing Documents”) necessary to consummate the transactions
contemplated by the DIP Credit Agreement, including providing for adequate protection to the
Company’s existing secured lenders in accordance with section 363 of the Bankruptcy Code, in
the form approved, with such changes therein and modifications and amendments thereto as any
of the Authorized, as applicable, may in their sole and absolute discretion approve, which approval
shall be conclusively evidenced by his or her execution thereof. Such execution by any of the
Authorized Officers is hereby authorized to be by facsimile, engraved or printed as deemed
necessary and preferable.

       FURTHER RESOLVED, that each of the Authorized Officers, as applicable, is
authorized and directed to seek authorization to enter into the DIP Credit Agreement and to seek
approval of the use of collateral pursuant to a postpetition financing order in interim and final form
with such changes therein, additions, deletions, amendments, or other modifications thereto as any
Authorized Officer may in their sole and absolute discretion approve.

       FURTHER RESOLVED, that the Company, as debtor and debtor-in-possession under
the Bankruptcy Code is authorized and directed to incur any and all obligations and to undertake
any and all related transactions on substantially the same terms as contemplated under the
Financing Documents (collectively, the “Financing Transactions”), including granting liens,
guarantees, and providing equity pledges to secure such obligations.

        FURTHER RESOLVED, that each of the Authorized Officers, as applicable, is
authorized and directed to take all such further actions, including, without limitation, to pay or
approve the payment of all fees and expenses payable in connection with the Financing
Transactions and all fees and expenses incurred by or on behalf of each Company in connection
with the foregoing resolutions, in accordance with the terms of the Financing Documents, which
shall in their reasonable business judgment be necessary, proper, or advisable to perform the
Company’s obligations under or in connection with the Financing Documents or any of the
Financing Transactions and to fully carry out the intent of the foregoing resolutions.

         FURTHER RESOLVED, that the Panel hereby ratifies and confirms all of the acts and
transactions relating to matters contemplated by the foregoing resolutions, which acts and
transactions would have been authorized and approved by the foregoing resolutions except that
such acts and transactions were taken prior to the adoption of such resolutions, be, and they hereby
are, in all respects confirmed, approved, and ratified.

                    Asset Purchase Agreement and Stalking Horse Bidder

      WHEREAS, the Panel has considered the strategic alternatives available to the Company.
The Panel and the Company has, following consultation with financial and legal advisors,



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determined that entry of an Asset Purchase Agreement, substantially in the form set forth on
Exhibit B hereto, and related transaction documents, including the Form of Amended and Restated
Leases, Form of Amendment to the Facilities Services Agreement, Form of Bill of Sale,
Assignment and Assumption Agreement, Form of Bidding Procedures Order, Form of Services
Agreement, Form of Non-Competition Agreement, Form of Transition Services Agreement, Form
of Escrow Agreement, and Form of Employment Agreement (collectively, the “APA”) with
CenterWell Senior Primary Care (Vitality), Inc. (“CenterWell”), for the sale of substantially all of
the Company’s assets (the “Transaction”) is in the best interests of the Company, its creditors, and
other parties in interest.

       NOW, THEREFORE, BE IT RESOLVED, the Authorized Officers, as applicable, are
authorized and empowered on behalf of the Company to finalize, execute, and deliver the APA,
with such changes as such Authorized Officers may deem necessary, advisable or appropriate, the
taking of any such action by such Authorized Officer to be deemed conclusive evidence that the
Board and the Company have authorized such action, and take all actions necessary to seek and
gain approval of the APA in the Bankruptcy Court.

       FURTHER RESOLVED, that the Panel hereby approves CenterWell as the Stalking
Horse Bidder in the Chapter 11 Case.

       FURTHER RESOLVED, that each of the Authorized Officers, as applicable, is
authorized and directed to take all such further actions, which shall in their reasonable business
judgment be necessary, proper, or advisable to perform the Company’s obligations under or in
connection with the APA and to fully carry out the intent of the foregoing resolutions.

         FURTHER RESOLVED, that the Panel hereby ratifies and confirms all of the acts and
transactions relating to matters contemplated by the foregoing resolutions, which acts and
transactions would have been authorized and approved by the foregoing resolutions except that
such acts and transactions were taken prior to the adoption of such resolutions, be, and they hereby
are, in all respects confirmed, approved, and ratified.

                        Membership Interest Repurchase Agreements

       WHEREAS, pursuant to Section 7.1 of the Operating Agreement, members are not
permitted to assign, pledge, or otherwise transfer their units or membership interests without
advance approval by the Board.

       WHEREAS, The Villages Health Holding Company, LLC (“VHHC”) has agreed to
propose to enter into certain membership interest repurchase agreements (the “Repurchase
Agreements”) to acquire Units (as defined in the Operating Agreement) of the Company held by
members of the Company.

       WHEREAS, the Company and the Panel desire to approve such Repurchase Agreements
in accordance with Section 7.1 of the Operating Agreement.

        NOW, THEREFORE, BE IT RESOLVED, the Company and the Panel approve the
entry into the Repurchase Agreements.


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         FURTHER RESOLVED, that the Panel hereby ratifies and confirms all of the acts and
transactions relating to matters contemplated by the foregoing resolutions, which acts and
transactions would have been authorized and approved by the foregoing resolutions except that
such acts and transactions were taken prior to the adoption of such resolutions, be, and they hereby
are, in all respects confirmed, approved, and ratified.

                                             General

        NOW, THEREFORE, BE IT RESOLVED, that, in addition to the specific
authorizations herein, each of the Authorized Officers, as applicable, is authorized and directed to
do and perform all such other acts, deeds and things and to make, negotiate, execute, deliver and
file, or cause to be made, negotiated, executed, delivered and filed, all such agreements,
undertakings, documents, plans, instruments, certificates, registrations, notices or statements and
to pay or cause to be paid all necessary fees and expenses, including fees and expenses of advisors
and counsel, as such Authorized Officers deem necessary or advisable to effectuate or carry out
fully the purpose of the foregoing resolutions, and the taking of such actions or the execution of
such documents by any such Authorized Officer shall be conclusive evidence that such Authorized
Officer deems such action or the execution and delivery of such document to be necessary or
advisable and to be conclusive evidence that the same is within the authority conferred by the
resolutions herein, and that any and all actions taken heretofore and hereafter to accomplish such
purposes, all or singular, be, and they hereby are, approved, ratified and confirmed.

        FURTHER RESOLVED, that the Panel has received sufficient notice of the actions and
transactions relating to the matters contemplated by the resolutions herein, as may be required by
the organizational documents the Company or hereby waive any right to have received such notice.

        FURTHER RESOLVED, that this written consent may be executed in one or more
counterparts, each of which shall be deemed an original, but all of which together will constitute
one and the same instrument, and that this written consent may be delivered via facsimile or
electronic transmission with the same force and effect as if it had been delivered manually.

         FURTHER RESOLVED, that the Panel hereby ratifies and confirms all of the acts and
transactions relating to matters contemplated by the foregoing resolutions, which acts and
transactions would have been authorized and approved by the foregoing resolutions except that
such acts and transactions were taken prior to the adoption of such resolutions, be, and they hereby
are, in all respects confirmed, approved, and ratified.


                          [Remainder of Page Intentionally Left Blank]




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IN WITNESS WHEREOF, the undersigned have executed this Written Consent effective as of the
date first written above.


 ____________________________                     ____________________________
 Mark G. Morse                                    Elliot J. Sussman, M.D.
 Title: Board Member of the Company               Title: Board Member of the Company



 ____________________________                     ____________________________
 W. Thomas Brooks                                 Thomas Menichino
 Title: Board Member of the Company               Title: Board Member of the Company



 ____________________________                     _____________________________
 Anthony Connelly                                 Anna Phillips
 Title: Board Member of the Company               Title: Board Member of the Company




 _____________________________
 Mark G. Morse
 Title: Manager of The Villages Health Holding
  Company (Majority Member of the Company)



  _____________________________
  Jennifer L. Parr
  Title: Manager of The Villages Health Holding
  Company (Majority Member of the Company)



  _____________________________
  Tracy M. Dadeo
  Title: Manager of The Villages Health Holding
  Company (Majority Member of the Company)




                       [Signature Page to Action by Written Consent]
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 Fill in this information to identify the case:
 Debtor name The Villages Health System, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                          Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Ahmad, Sobia                                                                                                                                                    $14,934.52
 7661 Blue Quail Ln
 Orlando, FL
 32835-5809
 Alpha Source Inc.                                   Trade debt                                                                                                    $9,800.00
 PO Box 809203             asg-billingfcb@pro
 Chicago, IL 60680         medical.com
                           800-654-9845
 ASSA ABLOY                                          Trade debt                                                                                                    $5,434.92
 Entrance                  InvoiceInquiry.us.e
 Systems US Inc.           ntrance@assaablo
 1900 Airport Road         y.com
 Monroe, ND 28110          866-237-2687
 Boston Scientific                                                                                                                                                 $3,250.00
 Corporatio                BSXInvestorRelatio
 PO Box 951653             ns@bsci.com
 Dallas, TX
 75395-1653
 Business Techs Inc.                                                                                                                                               $4,510.25
 421 North Palmetto        it@business-techs.
 Street                    com
 Leesburg, FL 34748
 Busto Mary                                                                                                                                                        $3,000.00
 4150 Burgess Drive
 The Villages, FL
 32163
 Connective Health                                   Trade debt                                                                                                  $14,000.00
 Inc                       inance@connectiv
 348 Cambridge Rd          ehealth.io
 Suite 162
 Woburn, MA 01801
 Estochen, Samuel                                                                                                                                                  $2,836.40
 5252 Grove Mnr
 Lady Lake, FL 32159
 Miguel Mantilla                                                                                                                                                   $3,669.85
 5371 Compass Point        miguel.mantilla-vill
 Oxford, FL 34484          amizar@thevillages
                           health.com

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    The Villages Health System, LLC                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Olympus America                                     Trade debt                                                                                                    $6,376.29
 Inc.                      cash.application@
 PO Box 120600             olympus.com
 Dallas, TX                800-848-9024
 75312-0600
 OnePacs LLC                                         Trade debt                                                                                                    $6,800.16
 PO Box 773186             accounts@onepac
 Detroit, MI               s.com
 48277-3186                877-881-7227
 Perfectserve                                                                                                                                                      $5,379.00
 PO Box 92015              collections@perfec
 Las Vegas, NV             tservesupport.zend
 89193-2015                esk.com
 SECO Energy                                                                                                                                                       $5,546.00
 Customer Service          customerservice@
 Dept #3035                secoenergy.com
 Orlando, FL
 32855-3035
 Solventum Health                                    Trade debt                                                                                                    $6,005.93
 Information               mdblount@solvent
 Systems, Inc              um.com
 LBX #:844394              612-842-1263
 Dallas, TX
 75284-3398
 Starkey                                                                                                                                                         $18,757.89
 Laboratories, Inc.        starkeycares@star
 PO Box 856915             key.com
 Minneapolis, MN
 55485-6915
 The Sourcing Group                                  Trade debt                                                                                                    $8,402.56
 Inc                       tmckenzie@tsgerp.
 PO Box 6568               com
 Carol Stream, IL          407-682-1400
 60197-6568
 The Villages Chilled                                                                                                                                              $4,284.25
 Water                     Utilities@DistrictG
 3619 Kiessel Rd           ov.org
 The Villages, FL
 32163
 United States of          Christopher                                         Contingent                                                                $361,000,000.00
 America                   Emden, AUSA                                         Unliquidated
 U.S. Attorney's
 Office MDFL               cemden@usdoj.go
 400 N. Tampa St.,         v
 Ste. 3200
 Tampa, FL 33602
 Veytec, Inc                                         Trade debt                                                                                                  $21,617.26
 2301 Silver Star
 Road                      407-849-0461
 Orlando, FL 32804




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    The Villages Health System, LLC                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Wells Fargo                                                                                                                                                       $3,023.21
 P.O. Box 105743           wfef@wellsfargo.c
 Atlanta, GA               om
 30348-5743




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                                                   United States Bankruptcy Court
                                                           Middle District of Florida
 In re    The Villages Health System, LLC                                                                 Case No.
                                                                           Debtor(s)                      Chapter       11

                                               LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                 Security Class Number of Securities                          Kind of Interest
business of holder
A. Ojha, Inc.                                                                375.00
817 Iron Oak Way
The Villages, FL 32163

A. Turri, Inc.                                                               375.00
12708 Water Point Blvd
Windermere, FL 34786

A. Wood TVH, Inc.                                                            375.00
11193 Roz Way
Oxford, FL 34484

Alan Sonsky                                                                  375.00
11225 Roz Way
Oxford, FL 34484

Allison Yow                                                                  15.00
11203 Roz Way
Oxford, FL 34484

Amy Wixted                                                                   187.50
4029 Bergen Hall Road
Fruitland Park, FL 34731

B. Betts, Inc.                                                               375.00
17566 SE 88th Covington Cir
The Villages, FL 32162

Bob Trinh                                                                    4,186.00
1020 Lake Sumter Landing
The Villages, FL 32162

Brian Hoffar                                                                 187.50
2634 Vlasto Ln
Okahumpka, FL 34762

C. Collins, Inc.                                                             187.50
5459 Thome Loop
The Villages, FL 32163

C.S. Pead, Inc.                                                              375.00
40611 Grays Airport Rd
Lady Lake, FL 32159




Sheet 1 of 7 in List of Equity Security Holders
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In re:    The Villages Health System, LLC                                             Case No.
                                                                        Debtor(s)



                                              LIST OF EQUITY SECURITY HOLDERS
                                                              (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities         Kind of Interest
business of holder

Carla Marinoni                                                            187.50
3329 Rohan Rd
Oxford, FL 34484

Catherine Sullivan                                                        375.00
1147 Creekside Dr
The Villages, FL 32162

Cheri Benedetti                                                           908.50
1020 Lake Sumter Lndg
The Villages, FL 32162

Cheri Benedetti                                                           908.50
39659 Grove Heights
Lady Lake, FL 32159

D. Olliverre, Inc.                                                        375.00
9051 Silver Lake Dr.
Leesburg, FL 34788

D. Sullivan, Inc.                                                         187.50
1301 Corona Cr
Lady Lake, FL 32159

D. Whinnen, Inc.                                                          375.00
7793 SE 22nd Terrace
Ocala, FL 34480

Daphne Bagwell                                                            187.50
7008 Tucson Trail
Okahumpka, FL 34762

Deon Sutherland                                                           375.00
17077 46th Ave
Archer, FL 32618

E. Lewis, Inc.                                                            375.00
95 Lily Dr
Fruitland Park, FL 34731

E.J. Sussman, Inc.                                                        12,061.00
1020 Lake Sumter Landing
The Villages, FL 32162

Emilio Noble                                                              600.00
1020 Lake Sumter Lndg
The Villages, FL 32162


List of equity security holders consists of 7 total page(s)
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In re:    The Villages Health System, LLC                                            Case No.
                                                                        Debtor(s)



                                              LIST OF EQUITY SECURITY HOLDERS
                                                              (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities        Kind of Interest
business of holder

Emilio Noble                                                              600.00
22318 Bartholdi Circle
Land O Lakes, FL 34639

Eyry Martin Low                                                           187.50
6913 Sunnyside Dr
Leesburg, FL 34748

F. Melidona, Inc.                                                         375.00
733 Rockingham Rd
The Villages, FL 32163

G. Jun                                                                    375.00
11196 Roz Way
Oxford, FL 34484

Harsha Rajashekar                                                         375.00
1110 SE 46th St
Ocala, FL 34480

J. Pavlik, Inc.                                                           187.50
26321 Avenida Las Colinas
Howey in the Hills, FL 34737

J. Sudduth, Inc.                                                          375.00
12616 Northeast 49th Dr
Oxford, FL 34484

James Flaherty, Inc.                                                      375.00
1020 Lake Sumter Lndg
The Villages, FL 32162

James Wrobel                                                              187.50
10161 Lake Miona Way
Oxford, FL 34484

Jessica Crites                                                            187.50
33703 Overton Dr
Leesburg, FL 34788

Jessica Kubis                                                             187.50
1543 Oak Glen Ct
Fruitland Park, FL 34731

Jimmy Ester                                                               53.00
1936 Northwest 102nd Blvd
Wildwood, FL 34785


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In re:    The Villages Health System, LLC                                             Case No.
                                                                        Debtor(s)



                                              LIST OF EQUITY SECURITY HOLDERS
                                                              (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities         Kind of Interest
business of holder

John B. Stabler                                                           375.00
7170 SE 85th Ln
Ocala, FL 34472

John D. Thompson                                                          375.00
1919 SE 7th St
Ocala, FL 34471

Joseph Rizzi                                                              375.00
39551 Crest Court
Lady Lake, FL 32159

K. Giovanneli, Inc.                                                       375.00
419 SW 45th St
Ocala, FL 34471

Karen Tobin                                                               187.50
5430 Emerald Bay Ln
Lady Lake, FL 32159

Kayla Music                                                               13.00
1610 SE 145th St
Summerfield, FL 34491

L. Cloukey, Inc.                                                          375.00
2473 Northwest 81st Ave
Wildwood, FL 34785

Ladonna Colinsworth                                                       187,50
3106 Marion County Rd
Weirsdale, FL 32195

Latifah Sabree                                                            8.00
118 Hidden Oaks Dr
Lady Lake, FL 32159

Lawrence Howard, M.D.                                                     2,2500.00



Lisa Edwards                                                              80.00
1356 Peters Dr
Leesburg, FL 34748

M. Roethlisberger, Inc.                                                   375.00
848 Hawk Landing
Fruitland Park, FL 34731



List of equity security holders consists of 7 total page(s)
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In re:    The Villages Health System, LLC                                            Case No.
                                                                        Debtor(s)



                                              LIST OF EQUITY SECURITY HOLDERS
                                                              (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities        Kind of Interest
business of holder

Matthew Shlapack                                                          26.00
10355 Addison Shore Way
Oxford, FL 34484

Michael Clifford                                                          375.00
773 Incorvaia Way
The Villages, FL 32163

P. Luzynski, Inc.                                                         187.50
5602 Great Egret Dr
Leesburg, FL 34748

Patrick Chunn                                                             225.00
1020 Lake Sumter Landing
The Villages, FL 32162

Pranav Ravi                                                               375.00
4026 Pinnacle Place Ct
Lady Lake, FL 32159

R. Herman, Inc.                                                           375.00
8806 SE 177th Grassmere St
The Villages, FL 32162

R.C. Reilly, Inc.                                                         375.00
11171 Hanson Terrace
Oxford, FL 34484

Raymond Mis                                                               375.00
2447 Boudreau Circle
The Villages, FL 32163

Roland More                                                               290.00
567 Mincey Loop
The Villages, FL 32163

S. Gulati, Inc.                                                           375.00
2354 McCarthy Ln
Okahumpka, FL 34762

S. Ojha, Inc.                                                             375.00
817 Iron Oak Way
The Villages, FL 32163

S. Rosenblum, Inc.                                                        375.00
3556 Enterprise Dr.
The Villages, FL 32163


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                                                                        Debtor(s)



                                              LIST OF EQUITY SECURITY HOLDERS
                                                              (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities          Kind of Interest
business of holder

Sheila Thomas                                                             375.00
39029 Griffin Landing
Lady Lake, FL 32159

Sobia Ahmad                                                               375.00
7661 Blue Quail Ln
Orlando, FL 32835

Suzanne Graham-Hooker                                                     375.00
11139 SE 168th Loop
Summerfield, FL 34491

T. Menichino, Inc.                                                        3875.00
1020 Lake Sumter Landing
The Villages, FL 32162

T. Perez, Inc.                                                            375.00
4985 Big Cypress St
Oxford, FL 34484

Tara Naran                                                                187.50
11219 Roz Way
Oxford, FL 34484

The Villages Health System                                                8750.50
600 Sunbelt Rd
Lady Lake, FL 32159

U. Nguyen, Inc.                                                           375.00
10075 Lake Miona Way
Oxford, FL 34484

Villages Health Holding Comp                                              100,526.50
1020 Lake Sumter Landing
The Villages, FL 32162

Wayne Burgess                                                             375.00
2982 Diver Loop
The Villages, FL 32163




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In re:    The Villages Health System, LLC                                                            Case No.
                                                                                 Debtor(s)



                                               LIST OF EQUITY SECURITY HOLDERS
                                                                   (Continuation Sheet)

Name and last known address or place of                     Security Class Number of Securities                             Kind of Interest
business of holder
DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



Date July 3, 2025                                                        Signature /s/ Neil F. Luria
                                                                                        Neil F. Luria

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 7 total page(s)
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The Villages Health System, LLC     Bio-Cylce Medical Waste Mgmt           Cheri Benedetti
7580 Middleton Drive                PO Box 840113                          39659 Grove Heights
Middleton, FL 34762                 Saint Augustine, FL 32080              Lady Lake, FL 32159




Elizabeth A. Green                  Bioteque America Inc.                  Christopher Emden, AUSA
Baker & Hostetler LLP               1302 Exchange Dr. #150                 U.S. Attorneys Office
200 S. Orange Ave.                  Richardson, TX 75081                   400 W Washington St, Ste 310
Suite 2300                                                                 Orlando, FL 32801
Orlando, FL 32801

48 Hour Books                       Bob Trinh                              Citrus Hearing Impaired Prog
1909 Summit Commerce Park           2362 McCarthy Lane                     109 E. Crystal St.
Twinsburg, OH 44087                 Middleton, FL 34762                    Crystal River, FL 34428




Advanced Bionics LLC                Boston Scientific Corporatio           City of Wildwood
28515 Westinghouse Place            PO Box 951653                          100 N Main Street
Valencia, CA 91355                  Dallas, TX 75395-1653                  Wildwood, FL 34785




Ahmad, Sobia                        Burandt, Darcell                       Comcast
7661 Blue Quail Ln                  6095 Collopy Place                     PO Box 71211
Orlando, FL 32835-5809              The Villages, FL 32163                 Charlotte, NC 28272-1211




All-Secure Graphics LLC             Business Techs Inc.                    Comfort Care Medical
635 Huffstetler Rd                  421 North Palmetto Street              Equipment & Uniforms Inc
Eustis, FL 32726                    Leesburg, FL 34748                     17860 SE 109th Ave, Ste 630
                                                                           Summerfield, FL 34491



Alpha Source Inc.                   Busto Mary                             Connection Financial Service
PO Box 809203                       4150 Burgess Drive                     2330 I-30
Chicago, IL 60680                   The Villages, FL 32163                 Mesquite, TX 75150




America's Physician Groups          Central Florida Health and             Connective Health Inc
611 N. N. Brand Blvd.               Wellness Magazine                      348 Cambridge Rd
Ste 1300                            1630 Caxambas Ct                       Suite 162
                                    Marco Island, FL 34145                 Woburn, MA 01801



ASSA ABLOY Entrance                 Change Healthcare                      Consensus Cloud Solutions LL
Systems US Inc.                     PO Box 5581                            PO Box 51873
1900 Airport Road                   Augusta, ME 04332-5581                 Los Angeles, CA 90051
Monroe, ND 28110
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CSU                                   Esther Root                            Goodwin, Korey
PO BOX 2230                           4315 Sycamore Creek Dr                 6279 Whittle Ct
Lady Lake, FL 32158                   Blue Ash, OH 45242                     The Villages, FL 32163




Darrell Zaugg                         Estochen, Samuel                       Hannah Shuyler
                                      5252 Grove Mnr
                                      Lady Lake, FL 32159




Dell Financial Services LLC           Executive Livery Service LLC           HealthCare Network Group
Mail Stop PS2DF-23                    322 E. Central Blvd                    4903 CR 128
One Dell Way                          Unit 1002                              FL 34878-5000
Round Rock, TX 78682                  Orlando, FL 32801



Dixie Safe and Lock Services          Expert Cleaning                        Honey-Do's LLC
4217 Idlewild Dr                      201 Josephine Ave                      357 Walters Pl
Fruitland Park, FL 34731              Fruitland Park, FL 34731               Fruitland Park, FL 34731




Dr. Stephen Rachael                   FedEx                                  ImageFirst
5044 Rosenow Road                     PO Box 660481                          PO Box 748385
The Villages, FL 32163                Dallas, TX 75266-0481                  Atlanta, GA 30374-8385




Duff, Sandra                          FitThumb                               Inferscience
33139 Beach View Drive                PO Box 91945                           PO Box 823
Leesburg, FL 34788                    Sioux Falls, SD 57109                  Lake Wales, FL 33859




DynaFire                              Frontier Therapeutics Inc.             Innovative Card Scanning Inc
109 Concord Dr                        505 Ellicott St.                       dba INUVIO
Casselberry, FL 32707                 Suite A5                               811 E Plano Pkwy
                                      Buffalo, NY 14203                      Plano, TX 75074-6860



Elliot Sussman                        Gerrard Jofy                           Jeffrey Curtis Fulford, Esq
2365 Baypoint Way                     5699 Marion County Rd                  32 SE Oscoela St., Ste A
The Villages, FL 32162                Lady Lake, FL 32159                    Stuart, FL 34994-2124




Ester Jimmy                           GN ReSound                             Jeffrey L. Madsen
N/A                                   3337 Brassie Ter
N/A, N/A N/A                          The Villages, FL 32163
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Jim Besong, MD                        Lenovo Inc                             Massey Services
6451 NE 118th Ave                     PO Box 643055                          3609 W Main St.
The Villages, FL 32162                Pittsburgh, PA 15264-3055              Leesburg, FL 34748




Jodie Geller                          LifeSource Medical                     MBK Electric, Inc.
                                      998 Lemon Bluff Rd                     10400 NW 27th Drive
                                      Osteen, FL 00032-1764                  Wildwood, FL 34785




Jodie Geller                          LRMC Medical Staff                     Medline Industries Inc.
733 Beauclair Place                   600 E Dixie Ave                        Dept. CH 14400
                                      Leesburg, FL 34748                     Palatine, IL 60055-4400




Joseph C. Shoemaker                   LSSA                                   Miguel Mantilla
Bogin, Munns & Munns PA               984 Old Mill Run                       5371 Compass Point
8543 US Hwy 441                       The Villages, FL 32162-1675            Oxford, FL 34484
Leesburg, FL 34788



Kerecis LLC                           M&S Air Conditioning                   Natus Medical Inc
Dept CH 17640                         1806 Green Leaf Lane                   PO Box 3604
Palatine, IL 60055-7640               Leesburg, FL 34748                     Carol Stream, IL 60132-3604




Laboratory Corp of America            Macuha, Faustino                       Neuroflow
Hdg                                   11360 Zimmerman Path                   PO Box 23518
PO Box 12140                          Oxford, FL 34484                       New York, NY 10087-3518
Burlington, NC 27216-2140



Laboratory Corp of America            Marion CPR, Inc.                       Nichols Construction Svcs
PO Box 12140                          850 NE 36th Ter                        PO Box 1558
Burlington, NC 27216-2140             Suite A                                Lady Lake, FL 32158
                                      Ocala, FL 34470



Laborie Medical                       Marts, Linda                           NSU
Technologies Corp                     1936 County Road 422                   984 Old Mill Run
Chicago, IL 60673-4615                Lake Panasoffkee, FL 33538             The Villages, FL 32162-1675




Lara Roeske Fernandez                 Mary Hermann                           Nuance Communications Inc
Trenam Law                            2955 Euclid Ter                        PO Box 7247-6924
PO Box 1102                           The Villages, FL 32163-2606            Philadelphia, PA 19170
Tampa, FL 33601-1102
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Nupur Technologies, LLC             PMA Lender LLC                         Sandler, Stephen
1576 Sweet Home Road                7580 Middleton Dr.                     2901 SW 41 ST
Buffalo, NY 14228                   Middleton, FL 34762                    Ocala, FL 34474




Oaktree Products, Inc.              Pride Solutions LLC                    Sandra L. Madsen
610 Spirit Valley East              PO Box 1842
Chesterfield, MO 63005              Wildwood, FL 34785




Ojha, Ashok MD                      R. Barry Morgan                        Screen Vision Media
817 Iron Oak Way                    Morgan Law Office, P.A.                245 Kenneth Dr,
The Villages, FL 32163              5300 S. Orange Ave                     Suite 400
                                    Orlando, FL 32809                      Rochester, NY 14623



Olympus America Inc.                R. Warden Inc.                         SECO Energy
PO Box 120600                       1020 Lake Sumter Landing               Customer Service
Dallas, TX 75312-0600               The Villages, FL 32162                 Dept #3035
                                                                           Orlando, FL 32855-3035



One Digital                         Redmon, Daris                          Siddell, Steven
PO Box 734429                       1773 Hollow Branch Way                 3300 SE 30th Terr
Dallas, TX 75373-3518               The Villages, FL 32162                 Ocala, FL 34471




OnePacs LLC                         Richard Hoffer                         Siemens Medical Solutions
PO Box 773186                       1947 Glenmont Ct                       USA Inc
Detroit, MI 48277-3186              The Villages, FL 32162                 PO Box 120001
                                                                           Dallas, TX 75312-0733



Pegg, Avalon                        RLS (USA) Inc                          Solventum Health Information
5984 Amador Place                   Mail code 7332                         Systems, Inc
The Villages, FL 32163              PO Box 7247                            LBX #:844394
                                    Philadelphia, PA 19170                 Dallas, TX 75284-3398



Perfectserve                        Robert Warden                          Solventum Health Information
PO Box 92015                        1020 Lake Sumter Landing               Systems Inc.
Las Vegas, NV 89193-2015            The Villages, FL 32162                 LBX#:844394
                                                                           Dallas, TX 75284-3398



Physicians Care Network             Roberts Oxygen Company Inc.            Sonova USA Inc
5024 NW 27th Court                  PO Box 5507                            35555 Eagle Way
Gainesville, FL 32606               Rockville, MD 20855                    Chicago, IL 60678-1355
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Spectrum Enterprise                 The Villages Chilled Water             United States of America
Box 223085                          3619 Kiessel Rd                        U.S. Attorney's Office MDFL
Pittsburgh, PA 15251-2085           The Villages, FL 32163                 400 N. Tampa St., Ste. 3200
                                                                           Tampa, FL 33602



SphereCommerce, LLC                 The Villages Operating Co              UnitedHealthcare of FL Inc.
PO Box 208308                       7580 Middleton Drive                   10151 Deerwood Park Blvd.
Dallas, TX 75320-8308               Middleton, FL 34762                    Ste. 420
                                                                           Jacksonville, FL 32256



Starkey Laboratories, Inc.          The Villages Operating Co              Urgo Medical North America
PO Box 856915                       c/o Commercial Property Mgmt           100 Lexington Street
Minneapolis, MN 55485-6915          7580 Middleton Dr.                     Fort Worth, TX 76102
                                    Okahumpka, FL 34762



State Farm                          Thomas, Sheila                         VCSA
PO Box 106134                       39029 Griffin Landing                  984 Old Mill Run
Atlanta, GA 30348                   Lady Lake, FL 32159




Sudduth, Julie                      Tucker Copeland                        Veytec, Inc
10153 Julia Isles Ave               4122 SE 10th Place                     2301 Silver Star Road
Oxford, FL 34484                    Ocala, FL 34471                        Orlando, FL 32804




Sweny Gulati, MD                    ULINE                                  Village Center Fire Safety
5117 Hutchinson Way                 Attn: Accounts Receivable              984 Old Mill Run
Lady Lake, FL 32159                 PO Box 88741                           The Villages, FL 32162
                                    Chicago, IL 60680-1741



That Party Girl                     UltraLinq Healthcare Solutio           VISA
PO Box 830065                       PO Box 1974                            PO Box 4512
Ocala, FL 34472                     Long Island City, NY 11101             Carol Stream, IL 60197-4512




The Brownwood Hotel & Spa           United Healthcare                      Welch Allen Inc.
3003 Brownwood Blvd                 Insurance Company                      One Baxter Parkway
The Villages, FL 32163              PO Box 101760                          Deerfield, IL 60015
                                    Atlanta, GA 30392-1760



The Sourcing Group Inc              United Refrigeration, Inc.             Wells Fargo
PO Box 6568                         4600 NE 35th Street                    P.O. Box 105743
Carol Stream, IL 60197-6568         Ocala, FL 34479                        Atlanta, GA 30348-5743
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Westone
PO Box 631276
Cincinnati, OH 45263-1276




WEX Health, Inc
PO Box 9528
Fargo, ND 58106-9528




Widex USA Inc
PO Box 200138
Dallas, TX 75320-0138




Wrobel James
10161 Lake Miona Way
Oxford, FL 34484




Wuest, Julie
1918 VanBeck Circle
The Villages, FL 34762




Yiam Dieppa Garay




Yow, Allision
11203 Roz Way
Oxford, FL 34484




ZLOTEK, LAURIE
351 Corbett Dr
The Villages, FL 32162
